Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 1 of
                                      21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 2 of
                                      21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 3 of
                                      21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 4 of
                                      21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 5 of
                                      21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 6 of
                                      21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 7 of
                                      21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 8 of
                                      21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 9 of
                                      21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 10 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 11 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 12 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 13 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 14 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 15 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 16 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 17 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 18 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 19 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 20 of
                                       21
Case 16-00130   Filed 07/27/16   Entered 07/27/16 11:31:57   Doc# 66-1   Page 21 of
                                       21
